Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 1 of 18
. a . T 617.889:3700 | 647.482.3003
‘Thomas M

tag ENS. MAN SOBOL: SHAPIRO LLP
er PARRA SUITE:30T

Junie 21,2013

Forsyth Street Ambulatory Surgery Center, LLC
Atti: Timothy R. Stapleton, Registered Agent

1610 Forsyth Street

Macon, Georgia 31201

~ fo Whom It May‘Concern,

As you are aware, last year New England C ing Phart
‘New England Compourding Center. (“NEC >) distributed: tainted medication tos various.
elinics throughout the country ¢ and specifically in Georgia. Handreds, if not thousands,, of
patients have. been injured as a resultof exposure to tainted NECC products. The most
pedent Center for Disease Control reports confirm that over 700 patients have confirmed
‘illnesses related to their exposure to tainted NECC pharmaceuticals and over 240 people
have confirmed cases of meningitis. Fifty-eight people haverdied.

According to the CDC, Forsyth Street Ambulatory Surgery Center, LLC
‘purchased and received preservative free methylprednisc lone actetate from atleast one of
_ the three contaminated lots distributed by NECC.

The Judicial‘ Panel on Multidistrict Litigation created a mullti-district litigation
fouum i inthe United States District Court forthe District of Massachusetts to: address:
egil ducts m1 sturec d by: NECC (No. 1:13-mnd-
ns 0 the Plaintiffs"

Le Counsel: and tlie PSC are-charged with:

L jating, coordinating, and conducting all pretrial disco
intiffS in all actions. subject to this order;.
2, Developing ‘aiid proposing to the Court schedules for the commencement,

execution, and.completion of all discovery on bebalf of all plaintiffs;

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Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 2 of 18

June 21, 2013
Page 2

3. Issuing in the name of all plaintiffs the necessary discovery requests,
motions, and subpoenas concerning any witnesses and documents needed
to prepare for the trial of this litigation (similar requests, motions, and
subpoenas may be caused to be issued by the PSC upon written request
by an individual attorney in order to assist him or her in the preparation
of the pretrial stages of his or her client’s particular claims); and

4. Conducting all discovery, by members or their designees approved by
Lead Counsel, in a coordinated and consolidated manner on behalf and
for the benefit of all plaintiffs.

NECC has filed for reorganization under Chapter 11 of the Bankruptcy Code.
Lead Counsel and the PSC are coordinating their efforts with the Official Creditor’s
Committee and its counsel, and will share with the Creditor’s Committee all appropriate
information that you produce in response to the subpoena. The PSC and Lead Counsel
are committed to working hand-in-hand with the Official Creditors’ Committee. Lead
Counsel and the Creditors’ Committee will be involved in any settlement discussions.

Lead Counsel and the PSC have designated Patrick T. Fennell of Crandall & Katt
to handle the day-to-day litigation of claims against Forsyth Street Ambulatory Surgery
Center, LLC.

You will receive a subpoena requesting information about your purchase, storage,
and use of NECC products shortly. For your convenience, a copy of that subpoena is
attached.

The subpoena requests some information that is protected under the Health
Insurance Portability and Accountability Act of 1996 (HIPAA) and other privacy laws.
We have asked Judge Saylor to enter an order in the MDL governing the production of
this protected health information. (Dkt. Nos. 180-181) Once the order has been entered,
we will identify a HIPAA-compliant vendor to receive (only) protected health
information that is responsive to this subpoena. All other responsive information should
be produced in accordance with the instructions in the subpoena.

We have also asked Judge Saylor to enter an order confirming that he will
centrally enforce all subpoenas and instructing subpoena recipients to file any objections
or motions to quash directly into the MDL. (Dkt. No. 182) Judge Saylor will hear any
objections to subpoenas at the July 18, 2013 MDL status conference. (Dkt. No. 183)

010337-13 616206 V1
Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 3 of 18

June 21, 2013
Page 3

Thank you. Please contact me or Patrick T. Fennell at (540) 342-2000 with any
questions.

Sincerely,

/s/ Thomas M. Sobol

Thomas M. Sobol

Partner

HAGENS BERMAN SOBOL SHAPIRO LLP
TMS:kjp
Enclosure

010337-13 616206 V!
Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 4 of 18

AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Massachusetts
___Inre: New England Compounding Pharmacy, Inc. )
Plaintiff )
v. ) Civil Action No. MDL 1:13-md-02419

)

_ ) (If the action is pending in another district, state where:

Defendant ) )

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Forsyth Street Ambulatory Surgery Center, LLC; C/O: Timothy Ryan Stapleton, Registered Agent
1610 Forsyth Street, Macon, GA 31201

wt Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
about the following matters, or those set forth in an attachment:

See Exhibit A

Place: Forsyth Street Ambulatory Surgery Center, LLC, 1610 Date and Time:
Forsyth Street, Macon, Georgia, 31201 07/15/2013 9:00 am

The deposition will be recorded by this method:

et Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material:
See Exhibit B

The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are

attached,
CLERK OF COURT
OR Me Sane.

Date: _ 06/21/2013

Signature of Clerk or Deputy Clerk Attorney's signature

The name, address, e-mail, and telephone number of the attorney representing (name of party)

Plaintiffs’ Steering Committee , who issues or requests this subpoena, are:
Patrick T. Fennell, Crandall & Katt, 366 Elm Avenue, SW, Roanoke, Virginia 24016

Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 5 of 18

«

AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. MDL 1:13-md-02419

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

This subpoena for (name of Individual and title, if any)

was received by me on (date)

© I served the subpoena by delivering a copy to the named individual as follows:

on (date) — > Or

© I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 6 of 18

AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)

(c) Protecting a Person Subject to a Subpoena.

(1) Avolding Undue Burden or Expense; Sanctions. A party or
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a
person subject to the subpoena. The issuing court must enforce this
duty and impose an appropriate sanction —~ which may include lost
earnings and reasonable attomey’s fees — on a party or attorney
who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or
to permit the inspection of premises, need not appear in person at the
place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.

(B) Objections. A person commanded to produce documents or
tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to
inspecting, copying, testing or sampling any or all of the materials or
to inspecting the premises — or to producing electronically stored
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14
days after the subpoena is served. If an objection is made, the
following rules apply:

(i) At any time, on notice to the commanded person, the serving
party may move the issuing court for an order compelling production
or inspection.

(ii) These acts may be required only as directed in the order, and
the order must protect a person who is neither a party nor a party's
officer from significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the issuing court must
quash or modify a subpoena that:

(BD fails to allow a reasonable time to comply;

(ii) requires a person who is neither a party nor a party’s officer
to travel more than 100 miles from where that person resides, is
employed, or regularly transacts business in person — except that,

- subject to Rule 45(cX3XBXiii), the person may be commanded to
attend a trial by traveling from any such place within the state where
the trial is held;

(iii) requires disclosure of privileged or other protected matter, if
no exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by
a subpoena, the issuing court may, on motion, quash or modify the
subpoena if it requires:

(D) disclosing a trade secret or other confidential research,
development, or commercial information;

(ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from
the expert’s study that was not requested by a party; or

(ili) a person who is neither a party nor a party's officer to incur
substantial expense to travel more than 100 miles to attend trial.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(c\(3\(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:

(}) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and

(if) ensures that the subpoenaed person will be reasonably
compensated.

(d) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information.
These procedures apply to producing documents or electronically
stored information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to
the categories in the demand.

(B) Form for Producing Electronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must
produce it in a form or forms in which it is ordinarily maintained or
in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One
Form. The person responding need not produce the same
electronically stored information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel
discovery or for a protective order, the person responding must show
that the information is not reasonably accessible because of undue
burden or cost. If that showing is made, the court may nonetheless
order discovery from such sources if the requesting party shows
good cause, considering the limitations of Rule 26(oX2XC). The
court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(@ expressly make the claim; and

(ii) describe the nature of the withheld documents,
communications, or tangible things in a manner that, without
revealing information itself privileged or protected, will enable the
parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it.
After being notified, a party must promptly retum, sequester, or
destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved: must take
reasonable steps to retrieve the information if the party disclosed it
before being notified; and may promptly present the information to
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is resolved.

(e) Contempt. The issuing court may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena. A nonparty’s failure to obey must be excused if the
subpoena purports to require the nonparty to attend or produce at a
place outside the limits of Rule 45(¢X3XAXii).
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Case 1

Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 8 of 18

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE: NEW ENGLAND
COMPOUNDING PHARMACY, INC.
PRODUCTS LIABILITY LITIGATION

MDL No. 1:13-md-02419

Hon. F. Dennis Saylor, TV
This Document Relates To: All Cases

NOTICE OF TAKING VIDEOTAPED ORAL DEPOSITION

OF DESIGNATED REPRESENTATIVE(S) OF NON PARTY
FORSYTH STREET AMBULATORY SURGERY CENTER, LLC

Please take notice that on July 15, 2013 beginning at 9:00 a.m. at the offices of
Forsyth Street Ambulatory Surgery Center, LLC, 1610 Forsyth Street, Macon, Georgia
31201 the deposition of a designated corporate representative will be taken upon oral
examination by one or more attorneys of the Plaintiffs’ Steering Committee in the
pending MDL, pursuant to Rule 30 of the Federal Rules of Civil Procedure for the
purpose of discovery or for use as evidence in this action, and before an officer
authorized by law to administer oaths.

PLEASE TAKE FURTHER NOTICE that pursuant to Rules 30 and 34 of the
Federal Rules of Civil Procedure, the non-party deponent(s) shall produce at the
deposition the documents identified in Exhibit B.

Duty to designate. By designating a representative, the organization indicates its
representative has the authority to speak on its behalf about the matters listed in this

deposition notice — not only to facts, but also to subject beliefs and opinions.’

" Lapenna v. Upjohn Co., 110 F.R.D. 15, 20 (ED. Pa. 1986); See also Alexander v. Fed. Bureau of
Investigation, 186 F.R.D. 148, 151-52 (D.D.C. 1999); Mitsui & Co. v. Puerto Rico Water Res. Autho.,93
F.R.D. 62, 66-67 (D.P.R. 1981).
Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 9 of 18

Duty to substitute. If it becomes clear that the chosen representative is unable to
respond to questions on the matters for which he or she has been designated, the
organization must immediately provide a substitute knowledgeable witness. This is
required even if the initial designation was made in good faith. ”

Duty to prepare. The testimony elicited in the deposition represents the
organization’s knowledge, not the individual deponent’s knowledge. The organization
must conduct a thorough investigation in response to the deposition notice and must
prepare any witness to testify to all matters “known or reasonably available to the
organization.” Therefore, if the organization’s designee is not knowledgeable about the
matters specified in the deposition notice, it must nonetheless prepare such designee to
give knowledgeable, binding answers.’

“Reasonably available” information includes all documents that the organization
has the authority, legal right, or practical ability to obtain. An inadequately prepared
designated witness will amount to an impermissible refusal to answer and a sanctionable
failure to appear. ‘

Scope of inquiry The description contained in the deposition notice simply

identifies the minimum to which a witness must be prepared to testify. If an examining

? See Marker v. Union Fidelity Life, 125 F.R.D. 121, 126 (M.D.N.C. 1989).
5 United States v. Taylor, 166 FR.D. 356, 361 (M.D.N.C. 1996) .

‘ Prokosch v. Catalina Lighting, Inc., 193 F.R-D. 633, 637 (D. Minn. 2000) (citing Lumber v. PPG
Industries, Inc., 168 F.R-D. 641, 643 n. 1 (D. Minn. 1966); See Black Horse Lane Assoc., L.P. v. Down
Chem. Corp., 228 F. 3d 275, 303-04 (3d Cir. 2000); Resolution Trust Corp. v. S. Union Co., 985 F. 2d 196,
197 (5* Cir. 1993); Taylor, 166 F.RD. at 363; Marker v. Union Fidelity Life Ins. Co., 125 F.R.D. 121, 126
(M.D.N-C. 1989).
Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 10 of 18

party asks questions outside the scope of the matters described in the notice, the general

deposition rules govern.

DESIGNATION OF TESTIMONY AND PRODUCTION OF DOCUMENTS

The designated matters upon which examination is requested are as follows:

1.

To provide testimony regarding those individuals involved in the production
of documents.

To provide testimony regarding the efforts made and the time expended in the
production of documents.

To provide testimony regarding the methods of search and methods of
production of documents produced.

To provide testimony regarding the authenticity of documents.

To provide testimony regarding the methods of storage, entry and use of
computer data and the method by which it has been produced.

To provide testimony regarding the location and methods of storage of
corporate documents.

To provide testimony regarding the existence of documents.

To provide testimony regarding the electronic creation, duplication and/or
storage of the documents.

To provide testimony regarding any and all document retention/destruction

policies that would relate to any of the documents.

10.To provide testimony regarding the searchability of databases for the

extraction of information.
Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 11 of 18

RESPE LLY,SUBMITTED
Lied

Patrick T. Fennell (VSB 40393)

Crandall & Katt

366 Elm Avenue, S.W.

Roanoke, Virginia 24016

Telephone: 540/342-2000
Facsimile: 540/400-0616

pfennell@crandalllaw.com

CERTIFICATE OF SERVICE
The undersigned hereby certifies that on this 21" day of June 2013, a true and

Complete copy of the foregoing was delivered to the following via electronic mail:

SEE ATTACHED SERVICE LIST. fn y;

Patrick T. Fennell (VSB 40393)
Crandall & Katt

366 Elm Avenue, S.W.
Roanoke, Virginia 24016
Telephone: 540/342-2000
Facsimile: 540/400-0616

pfennell@crandalliaw.com

Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 12 of 18

Service List for all Defense Counsel‘of record in MDL. 2419

"Heidi Nadel

‘Vessica Saunders Bichel

“Judi Abbott Curry Teuny@HianisBeach, com
| Matthew Moriarty: natthew.moriarty@tuckerellis.com ” oe
"Richard De richard dean@tuckerelliscom
"Fhomas Coffey thomas: coffey@tuckerelis. com
Matthew Mantilos . “mantalos@tsd-lawiirm. com
Paul Saltaman saltzman@tsd-lawfirm:com |
‘Scott Kremer ‘ieemer@tsd-lawfirm.con
Scott Tucker tmcker@tsd-lawfirm.com
oneal | jklarfeld@ulmer.com

Robert Curl | rac@curleylaw.com

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michael. gardaer@leclaimyan.com

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Case 1

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Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 14 of 18

Exhibit B to Subpoena

‘1, - Any and all documents and/or electronically stored information (“ESI”)
reflecting, and/or related in any way whatsoever to, the procurement of methylprednisolone
acetate (“MPA”) and any other injectable steroid preparations from New England Compounding
Pharmacy, Inc. (“NECP”) during the two-year period immediately preceding October 6, 2012,
including without limitation of the foregoing, information reflecting dates of shipment and/or
receipt, quantities of shipment, lot numbers and other identifying labels, sizes of containers of
steroid preparation, the cost you paid for the steroid preparation, applicable warranties, shelf life,
expiration dates, requirements and instructions for shipment and/or storage, and the specific
identity of the preparation being purchased. Also including account information, prescriptions
submitted to NECP, prescription order forms, NECP charges for MPA (before and after any
discounts applied).

2. Any and all documents and/or ESI reflecting, and/or related in any way
whatsoever to, the procurement of MPA, or its generic or name-brand equivalent, from any
producer, compounding facility or manufacturer other than NECP, since October 6, 2007,
including without limitation of the foregoing, information reflecting dates of shipment and/or
receipt, quantities of shipment, lot numbers and other identifying labels, sizes of containers of
the product, the cost you paid for the product, applicable warranties, shelf life, expiration dates,
requirements and instructions for shipment and/or storage, and the specific identity of the
preparation being purchased.

3. -Any and all documents and/or ESI reflecting, and/or related in any way
whatsoever to, the procurement of cardioplegic solution from NECP during the two-year period
immediately preceding October 6, 2012, including without limitation of the foregoing,
information reflecting dates of shipment and/or receipt, quantities of shipment, lot numbers and
other identifying labels, sizes of containers of cardioplegic solution, the cost you paid for the
cardioplegic solution, applicable warranties, shelf life, expiration dates, and requirements and
instructions for shipment and/or storage. Also including prescriptions submitted to NECP,
' prescription order forms, NECP charges for cardioplegic solution (before and after any discounts
applied).

4. Any and all documents and/or ESI reflecting, and/or related in any way
whatsoever to, the procurement of ophthalmic solution from NECP during the two-year period
immediately preceding October 6, 2012, including without limitation of the foregoing,
information reflecting dates of shipment and/or receipt, quantities of shipment, lot numbers and
other identifying labels, sizes of containers of ophthalmic solution, the cost you paid for the
ophthalmic solution, applicable warranties, shelf life, expiration dates, and requirements and
instructions for shipment and/or storage. Also including prescriptions submitted to NECP,
prescription order forms, NECP charges for opthalmic solution (before and after any discounts
applied).

5. Any and all documents and/or ESI reflecting, and/or related in any way

whatsoever to, the procurement of preservative-free saline solution from NECP during the two-
year period immediately preceding October 6, 2012, including without limitation of the

{004663/12496/00290939.DOCX / Ver.1}
Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 15 of 18

foregoing, information reflecting dates of shipment and/or receipt, quantities of shipment, lot
numbers and other identifying labels, sizes of containers of saline solution, the cost you paid for
the saline solution, applicable warranties, shelf life, expiration dates, and requirement and
instructions for shipment and/or storage. Also including prescriptions submitted to NECP,
prescription order forms, NECP charges for preservative-free saline solution (before and after
any discounts applied).

6. Any and all documents and/or ESI reflecting, and/or rélated to, the identification
of each and every patient that was administered an NECP product during the two-year period
immediately preceding October 6, 2012, including patient name, address, date of birth,
identification of product administered, and date product was administered.

7. Any and all documents and/or ESI reflecting or containing communications .
(written or otherwise) between Forsyth Street Ambulatory Surgery Center, LLC (‘Healthcare
Provider”), its employees, principals, partners, and/or agents, and NECP, its employees and/or
agents, during the two-year period immediately preceding October 6, 2012, including, but not
limited to, any complaints or adverse event reports made to NECP by the Healthcare Provider.

8. Any and all documents and/or ESI reflecting or containing information obtained
by the Healthcare Provider, its employees and/or agents, regarding NECP, including without
limitation of the foregoing, NECP’s qualifications, certifications or accreditations, or lack
thereof, regulatory compliance, lack of regulatory compliance, operations, enforcement actions,
suitability for conducting its business, legal actions and/or warnings, brochures, policies and
procedures, ordering and delivery information company overviews, standard operating
procedures, executive summaries, attachments A, B or others (relating to HIPAA, NECP policies
and procedures, or other information).

9. Any and all documents and/or ESI reflecting or containing information obtained
by, or communications received by, the Healthcare Provider, its employees and/or agents,
concerning the fitness of any products purchased or obtained from NECP for their intended use,
during the two-year period immediately preceding October 6, 2012, including but not limited to
any environmental testing results, microbiology reports or certificates of analysis.

10. Any and ali documents and/or ESI reflecting or containing information obtained
by, or sent to, the Healthcare Provider, its employees and/agents, from the Centers for Disease
Control and Prevention, the Federal Food and Drug Administration, and/or any other Federal,
State or local regulatory agency, concerning the fitness of any products manufactured,
compounded or produced by NECP for their intended purpose.

11. Any and all documents and/or ESI reflecting or containing communications
between the Healthcare Provider and any federal or state agency (including, but not limited to
state licensing authorities, the Food and Drug Administration, and the Centers for Disease
Control and Prevention) in connection with the procurement of products from any compounding.
pharmacy.

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Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 16 of 18

12. Any and all documents and/or ESI reflecting or containing marketing information
from NECP, NECP’s agents, or any sales company or person marketing, selling, or attempting to
sell products on behalf of NECP.

13. Any and all documents and/or ESI reflecting or containing agreements, contracts
and/or warranties between the Healthcare Provider and NECP, NECP’s agents, or any sales
company or person marketing, selling, or attempting to sell products on behalf of NECP.

14. Any and all documents and/or ESI reflecting or containing recall notices received
by the Healthcare Provider pertaining to products produced by NECP, including without
limitation of the foregoing, the date, time and manner of receipt of the recall notices, the specific
person or persons within the Healthcare Provider who received the notice, and the substance of
the notice.

15. Any and all documents and/or ESI reflecting or containing communications made

or issued by the Healthcare Provider, its employees and/or agents, in response to any recall
notice regarding NECP products, including without limitation of the foregoing, the date, time
and manner of transmission of the communication, the person(s) to which the communication
was directed, and the person at the Healthcare Provider who made or delivered the
communication.

16. Any and all documents regarding any investigation or inquiry the Healthcare
Provider performed related to attempts by NECP to comply with United States Pharmacopeia —
National Formulary, Chapter 797 (USP — NF General Chapter 797, entitled “Pharmaceutical
Compounding — Sterile Preparations”).

17. Any and all policies of insurance, including without limitation of the foregoing,
professional liability, malpractice, products liability, general liability, and comprehensive or
umbrella policies, issued to the Healthcare Provider and/or its principal officers and directors
- and/or any physician working for or on behalf of the Healthcare Provider, for the policy periods
including calendar years 2011, 2012 and 2013.

18. Articles of Incorporation and/or By-Laws applicable to the Healthcare Provider
for calendar years 2011, 2012 and 2013.

19. Any and all documents and/or ESI reflecting or containing the names, addresses
and positions (President, Vice-President, Director, etc.) within the Healthcare Provider of all
officers and directors of the Healthcare Provider during the calendar years 2011, 2012 and 2013.

20. Any and all documents showing the entities or individuals with an ownership
interest in the Healthcare Provider.

21. Any and all organizational charts maintained by the Healthcare Provider and/or
any documents listing directors, officers, employees, and/or agents of the Healthcare Provider
showing the names and positions of said directors, officers, employees, and/or agents and their
relationship or rank within the Healthcare Provider.

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Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 17 of 18

MACON CLINIC SERVED WITH SUBPOENA IN LITIGATION
INVOLVING MENINGITIS OUTBREAK

Discovery begins in cases consolidated in U.S. District Court in Massachusetts

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Macon, Georgia, June 24, 2013. Today Forsyth Street Ambulatory Surgery, LLC, a pain
management clinic in Macon, was served with a subpoena requiring it to turn over documents in
its possession that could shed light on allegations that its patients received injections of tainted
medication that led to serious illness.

The subpoena originated in the U.S. District Court for the District of Massachusetts, which is
overseeing the consolidation of most cases in Federal and state court alleging personal injury or
wrongful death as a result of the contaminated injections. The subpoena was issued by attorneys
working in conjunction with a seven-member Plaintiffs’ Steering Committee appointed by the
District Court to initiate, coordinate and conduct all pretrial discovery of plaintiffs in all actions
pending in that court. The purpose of the subpoena is to investigate facts material to ongoing
proceedings in the consolidated cases in Massachusetts, and does not necessarily indicate
wrongdoing on the part of the clinic. The issuance of the subpoena should not be interpreted as
an allegation of wrongdoing on the part of the clinic.

Forsyth Street Ambulatory Surgery Center, LLC was one of many clinics nationwide identified
by the Centers for Disease Control and Prevention (CDC) as having purchased and administered
vials of contaminated methylprednisolone acetate (“MPA”) that were produced by New England .
Compounding Pharmacy, Inc. (NECP) of Framingham, Massachusetts. This is one of many
subpoenas being served nationwide on most of the approximately 76 clinics across the country |
that have been identified as having dispensed NECP products. The CDC has reported one case
of fungal meningitis infection, linked to the tainted compound, in the State of Georgia alone.

The subpoena requires Forsyth Street Ambulatory Surgery Center, LLC to produce for
examination or copying, documents and communications between the clinic and NECP,
including information reflecting purchasing decisions, items purchased, dates, quantities, pricing,
storage of the medication and more.

According to Patrick T. Fennell, this subpoena signals the next step of an ongoing investigation
of the role clinics like Forsyth Street Ambulatory Surgery Center, LLC played in the distribution
of contaminated medication. ‘“We believe the information we receive from Forsyth Street
Ambulatory Surgery Center, LLC will help us understand how the outbreak of fungal meningitis
infections occurred,” Patrick T. Fennell said.

The outbreak of fungal meningitis infections is the worst such outbreak in U.S. history. The
CDC has recorded more than 700 infections nationwide, and has not ruled out the possibility that —
this number will continue to grow.
Case 1:13-md-02419-RWZ Document 279-1 Filed 07/11/13 Page 18 of 18

As a result of the large number of actual and anticipated civil lawsuits arising from the outbreak,
NECP filed for reorganization under Chapter 11 of the United State Bankruptcy Code, in the
U.S. Bankruptcy Court in Massachusetts, on December 21, 2012. On February 12, 2013, the
United States Judicial Panel on Multidistrict Litigation ordered the consolidation of all Federal
cases in the U.S. District Court in Massachusetts.

On April 9, 2013 the Hon. F. Dennis Saylor, IV, presiding United States District Court Judge,
appointed the Plaintiffs’ Steering Committee, of which Thomas M. Sobol, an attorney with the
‘firm Hagens Berman Sobol Shapiro LLP, is lead counsel. Patrick T. Fennell is working with the
Plaintiffs’ Steering Committee to organize the litigation in the State of Georgia.
